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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TENNESSEE
                                  WESTERN DIVISION


 JEFFREY PARCHMAN and                            )
 NANCY CARLIN, individually and on               )
  behalf of all others similarly situated,       )
                                                 )
                 Plaintiffs,                     )
                                                 )
                                                 )
 v.                                              )                 Case No. 2:15-cv-2819-JTF-cgc
                                                 )
 SLM CORPORATION,                                )
 NAVIENT CORPORATION,                            )
 NAVIENT SOLUTIONS, INC.,                        )
 f/k/a Sallie Mae, Inc., and                     )
 SALLIE MAE BANK,                                )
                                                 )
                 Defendants.                     )


 ORDER GRANTING IN PART AND DENYING IN PART DEFENDANTS SALLIE MAE
        AND NAVIENT SOLUTIONS, LLC’S MOTION FOR § 1927 FEES


         Before the Court is Defendants Sallie Mae Bank and Navient Solutions, LLC’s Motion

 for Costs, Expenses and Attorneys’ Fees that was filed on August 15, 2017. (ECF No. 95.) On

 August 28, 2017, Plaintiffs, through counsel, filed a Response in Opposition to Defendants’

 Motion for Sanctions to which Defendants filed a Reply on October 4, 2017. (ECF Nos. 99 &

 104.) 1 For the following reasons, the Court finds Defendants’ § 1927 Motion for Costs, Expenses

 and Attorneys’ Fees should be Granted in Part and Denied in Part.



 1
   In the interim, counsel for Plaintiff Jeffrey Parchman filed a Notice of Appeal with the United States
 Court of Appeals for the Sixth Circuit on August 16, 2017, of the undersigned Court’s dismissal of the
 putative class action under the Telephone Consumer Protection Act. (ECF Nos. 97 & 98.) Soon thereafter,
 on September 26, 2017, the Sixth Circuit denied without prejudice the Plaintiffs’ Motion to Substitute
 April Parchman as Jeffrey Parchman’s successor in interest, one of the underlying issues leading to the
 district court’s dismissal of the case. (USCA No. 17-5968, ECF No. 101.)

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                                  I. FACTUAL BACKGROUND

        On December 22, 2015, Plaintiff Jeffrey Parchman initiated this proposed collective

 action against Defendants SLM, Navient Corporation and Navient Solutions, Inc. (“NSI” f/k/a

 Sallie Mae, Inc.) for unauthorized autodialed collection calls to his cellular telephone in violation

 of 47 U.S.C. §§ 227 (b)(3)(B) and (C). (ECF No. 1.) The proposed class included other

 similarly situated persons who had received non-emergency telephone calls from any of the

 Defendants or their affiliates or subsidiaries between December 21, 2011 and November 2, 2015.

 Settlement discussions and mediation attempts proved unsuccessful. On January 25, 2017, SMB

 informed the Court of Jeffrey Parchman’s death that occurred on or about May 25, 2016. This

 Court conducted a motions hearing, and thereafter entered an Order Granting NSI’s Motion to

 Dismiss for Lack of Personal Jurisdiction, Denying Plaintiffs’ Motions to Amend Complaint and

 dismissed the case on July 18, 2017.      (ECF Nos. 91 & 92.) Before the Court is Defendants’

 motion pursuant to 28 U.S.C. § 1927 and Fed. R. Civ. P. 54(d) for $96,174.30 in fees, $800.21

 in taxable costs, and $11,415.97 in other expenses, including a $5,450.00 mediation fee, for a

 total of $108,390.48. (ECF No. 95, 4.)

                                     II. LEGAL STANDARD

        Title 28 U.S.C. § 1927 (1980) provides:

        § 1927. Counsel’s liability for excessive costs
        Any attorney or other person admitted to conduct cases in any court of the United
        States or any Territory thereof who so multiplies the proceedings in any case
        unreasonably and vexatiously may be required by the court to satisfy personally
        the excess costs, expenses, and attorneys’ fees reasonably incurred because of
        such conduct.

        In order for a court to impose sanctions under § 1927, the movant must establish by clear

 and convincing evidence or specific acts that the party to be sanctioned: (1) multiplied the

 proceeding; (2) in an unreasonable and vexatious manner; (3) thereby increasing the costs of the

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 proceeding; and (4) done so in bad faith or by intentional misconduct. In re Prudential Ins. Co.

 Am. Sales Practice Litig. Agent Actions, 278 F.3d 175, 188 (3rd Cir. 2002). “Section 1927

 sanctions are warranted when an attorney objectively falls short of the obligations owed by a

 member of the bar to the court and which, as a result, causes additional expense to the opposing

 party.” Red Carpet Studios v. Sater, 465 F.3d 642, 646 (6th Cir. 2006). The standard under §

 1927 is objective and an attorney may be sanctioned for conduct that is more than negligence or

 incompetence. Garner v. Cuyahoga County Juvenile Court, 554 F.3d 624, 645 (6th Cir. 2009)

 and Stalley v. Mountain States Health Alliance, et al., No. 2:06-CV-216, 2010 WL 446929 at *2

 (E.D. Tenn. Feb. 2, 2010) (citing Rentz v. Dynasty Apparel Indus., Inc., 556 F.3d 389, 396 (6th

 Cir. 2009)), but less than reckless, subjective bad faith or conscious impropriety. Williams v.

 White Castle System, Inc., 526 F.Supp.2d 830, 841 (M.D. Tenn. 2007)(simple inadvertence or

 negligence will not support § 1927 sanctions.) and In re Ruben, 825 F.2d 977, 987 (6th Cir.

 1987). Sanctions may not be imposed against a represented party or upon a law firm. BDT

 Products, Inc. v. Lexmark Int’l Inc., 602 F.3d 742, 749-50 (6th Cir 2010).

        Fed. R. Civ. P. 54(d)(1) allows costs, other than attorney’s fees, to a prevailing party

 unless a federal statute, the federal civil rules of practice and procedures or a court order

 provides otherwise.    Attorney fees and expenses are permitted under Rule 54(d)(2)(E) as

 sanctions pursuant to 28 U.S.C. § 1927. However, § 1927 (b) does not authorize an award for

 the total costs of litigation. See 28 U.S.C. §§ 1920, 1927. Section 28 U.S.C. § 1920 lists costs

 as clerk’s and marshal’s fees, docket fees, court reporter charges, printing and witness fees,

 copying costs, interpreting costs, and fees of court-appointed experts.

        In the Sixth Circuit, there is no requirement for a full evidentiary hearing before sanctions

 are imposed. Wilson-Simmons v. Lake County Sheriff’s Dep’t, 207 F.3d 818, 822 (6th Cir. 2000)



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 (citing Cook v. America S.S. Co., 134 F.3d 771, 774 (6th Cir. 1998)). “What is required,

 however, is that before the imposition of sanctions, the attorney must be given notice and an

 opportunity to be heard . . . . An order to show cause, only with an opportunity to respond to said

 order, can be sufficient, in certain circumstances, to provide the necessary procedural

 safeguards.” Id. at 775.   Therefore, Counsel for Plaintiffs’ request for a hearing on this issue,

 ECF No. 99, is Denied.

                                          III. ANALYSIS

          Defendants assert an entitlement to costs, expenses and fees under 28 U.S.C. § 1927 for

 excessive proceedings that occurred after September 9, 2016, due to Plaintiffs’ counsel’s failure

 to communicate with his client. (ECF Nos. 95 & 104). Counsel for Plaintiffs opposes the

 motion, asserting that Defendants’ contention that he should have known at an earlier date of his

 client’s passing is, at most, an allegation of negligence and therefore, insufficient to justify §

 1927 sanctions. (ECF No. 99.) Thus, the Court must determine whether unnecessary or multiple

 proceedings occurred because of counsel’s conduct, and that his conduct comprised more than

 simple inadvertence or neglect. Williams, 526 F.Supp.2d at 841.

          1) Were There Excessive Proceedings After September 9, 2016?

          Defendants suggest that unnecessary proceedings occurred in this case after September 9,

 2016, the date upon which counsel agreed to mediation and the Rule 30(b)(6) deposition. At that

 time, counsel should have known of his client’s death which occurred on or about May 25,

 2016. 2 (ECF No. 95). Defendants say that had counsel attempted to confer with his client

 between July 19, 2016, the date of their email to him regarding scheduling a deposition, and

 September 9, 2016, the date they agreed to mediation, he would have discovered his client’s

 passing. As a result, Defendants assert that counsel’s failure to adequately communicate with his
 2
     See ECF No. 67.

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 client caused them to engage in unnecessary litigation. (ECF No. 95, 8). Plaintiff’s counsel

 responds that the Court should reject altogether Defendants’ § 1927 motion. He argues that even

 though he was unaware of his client’s death for eight (8) months, there is no evidence that he

 acted with improper motive.     In the alternative, counsel argues that any negligence in the

 discovery of his client’s passing is insufficient to award § 1927 sanctions. (ECF No. 99.)

        Attorneys appearing before this Court, either as members in good standing of the

 Tennessee bar, or by application and admission pro hac vice, agree to be bound by the Local

 Rules of this Court, the Tennessee Supreme Court Rules of Professional Conduct, and the

 Guidelines of Professional Courtesy and Conduct at Appendix C. See Tenn. West. L.R. 83.4(b)

 and (c). In accordance with Rule 8 of the Tennessee Rules of Professional Conduct, “[i]n all

 professional functions a lawyer should be competent, prompt, and diligent. A lawyer should

 maintain communication with a client concerning the representation. Tenn. Sup. Ct. R. 8, RPC 5

 (Tenn. 2011). Further, the Comment on American Bar Association Rule 1.4 requires that an

 attorney maintain “[r]easonable communication between the lawyer and the client that is

 necessary for the client effectively to participate in the representation.” Model Rules of Prof’l

 Conduct R. 1.4(Am. Bar Ass’n 2018). Upon review, it is clear that Plaintiffs’ counsel failed to

 regularly communicate with his client during the course of the underlying proceedings.

 Plaintiffs’ counsel effectively concedes as much in his response. (ECF No. 99, 2.) Thus, the

 Court must determine whether the delay in finding out and disclosing Parchman’s death was

 more than mere negligence and unnecessarily multiplied the proceedings.

        On December 22, 2015, counsel Benjamin Miller filed the underlying complaint on

 behalf of Plaintiff Jeffrey Parchman in this proposed class action against the Defendants pursuant

 to the Telephone Consumer Protection Act, 47 U.S.C. § 227. (ECF No. 1, 1 ¶1, 2, ¶ 7.) On April



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 29, 2016, the undersigned Court conducted a scheduling conference wherein the parties advised

 they had met and conferred, allowing the Court to establish certain discovery deadlines in

 accordance with Fed. R. Civ. P. 1 and Fed. R. Civ. P. 26. (ECF Nos. 32-34.) As discussed

 extensively, the Court directed the parties to engage in mediation by August 19, 2016. The

 Court ordered the parties to have at all mediation sessions individuals with full settlement

 authority. Counsel for Plaintiffs maintained there were misunderstandings and that he had

 settlement authority on behalf of the proposed class. Such authority is not demonstrated in the

 record. (ECF Nos. 36 & 84.) Plaintiffs’ counsel did not move the Court for relief from this

 requirement. It appears Counsel simply ignored the Court’s Order. Further, Plaintiffs’ counsel

 filed several stipulations with the Court requesting more time to respond to Defendants’ Motion

 to Sever and to Dismiss and motions for extensions of Scheduling Order deadlines. These

 extensions were reportedly requested so “that they [could] continue to engage in settlement

 discussions and may be able to avoid the motion [to sever and to dismiss] altogether.” (ECF

 Nos. 44, 46, 47, 50, 55 & 63.) Yet, in response to the instant motion for fees and costs, counsel

 asserts:

            [T]hat the Court may have been under the impression that there were multiple
            mediation sessions and that the parties were actively negotiating over a period of
            months.

 (ECF No. 99, 3 n. 2.) This statement directly contradicts the reasons provided by counsel for the

 many extensions of the discovery deadlines. On January 3, 2017, Plaintiffs filed their last

 Motion for New Scheduling Order urging that because of “[t]he unforeseeable death of Plaintiff

 Jeffrey Parchman, the parties’ efforts at an early resolution, and the issues raised in the motions

 contemporaneously filed herewith . . . . made the scheduling order unworkable . . . . no plaintiff

 has been deposed, and Navient Solutions has refused to engage in discovery prior to a ruling on


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 its motion to sever and dismiss. (ECF No. 63.) In this Court’s view, this assertion unfairly

 suggests that Plaintiffs would have already been deposed had the pending motions been resolved.

        On January 4, 2017, Plaintiffs’ counsel disclosed to Defense counsel that Parchman was

 deceased. (ECF No. 67.) Subsequently, Lisa Simonetti, counsel for SMB, investigated further,

 finding that Parchman had passed on or about May 25, 2016. As a result, Ms. Simonetti filed a

 Status Report with the Court on January 25, 2017, regarding Parchman’s death. (Id. & Exhibit

 A.) In turn, Plaintiffs’ filed a Status Report on the following date which indicated:

        After the [December 6, 2016] mediation, defense counsel requested for the first
        time to take plaintiff Jeffrey Parchman’s deposition. It was thereafter, when
        Plaintiffs’ counsel could not reach Mr. Parchman to arrange this deposition, that
        Plaintiffs’ counsel learned from Mr. Parchman’s mother that Mr. Parchman had
        died suddenly and unexpectedly on May 25, 2016. Plaintiff’s counsel had been
        regularly giving Mr. Parchman updates without any difficulty by telephone and
        email, but there was no reason to hear back from him until the request for his
        deposition was made. No written discovery was ever sent to him and no
        settlement offers were ever made to him individually.

 (ECF No. 68.) On January 27, 2017, the Court conducted a Status Conference regarding the

 Notices wherein counsel Lisa Simonetti and Odell Horton, Jr. appeared before the Court.

 Counsel for Plaintiff, James A. Dunlap, Jr. and Ben Miller participated telephonically. After

 hearing from the parties regarding Plaintiff’s death, Defendants requested one week to file

 responses to the Plaintiffs’ recently filed motions. However, the Court ordered ore tenus that

 discovery be stayed until further notice and set a hearing on March 15, 2017. (ECF No. 69.)

 During the hearing, the Court again heard from the parties regarding the Court’s mediation order,

 with respect to Parchman’s death. After the hearing, the parties briefed the issue of survivability

 of the TCPA claims. (ECF Nos. 83, 85 & 87.) Despite the stay, responses were filed by SMB

 and NSI to the Motion to Amend, the Motion for Discovery and Requests for Admissions and




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 the Motion for Leave to File Supplement Response to Motion to Dismiss on February 3, 2017.

 (ECF Nos. 71-73.)

         The record shows that counsel for Plaintiff has provided conflicting dates for when he

 discovered his client’s death — early December 2016 or early January 2017. Ultimately, this

 information precipitated his filing substantive motions instead of a Rule 25 Suggestion of

 Death. 3 More specifically, on January 13, 2017, Plaintiffs’ counsel filed: (1) Plaintiffs’ Motion

 to Amend Complaint to add Parchman’s daughter and mother; (2) Plaintiffs’ Motion to Deem

 Requests for Admission Admitted; (3) Plaintiffs’ Motion to Compel 30(b)(6) Designation; (4)

 Plaintiffs’ Motion for Leave to Supplement Response in Opposition to Defendant Navient

 Solutions Inc.’s Motion to Sever and Dismiss and lastly, and discussed herein, (5) Plaintiffs’

 Motion For New Scheduling Order. (ECF Nos. 59-63.) All five of these motions were filed

 without counsel notifying the Court of his client’s death.

         Counsel for the Defendants seek all fees, costs and expenses incurred after September 9,

 2016, the date upon which counsel confirmed the October 11, 2016 mediation date. (ECF No.

 95, 1, 3 & Exhibit A.) After review, the Court finds that except for mediation costs, § 1927 fees

 should not be awarded for any legal services arising after September 9, 2016, or for the

 Responses to Plaintiffs’ motions that were filed in February 2017 while the matter was stayed.

 Counsel for Parchman did not extend the proceeding and cause more expenses during this time

 as the Court did not direct responses or any further action from counsel until March 15, 2017.

 However, the Court will allow costs, expenses and fees associated with settlement discussions


 3
      “The objective of the suggestion of death set forth in Rule 25(a)(1) is to alert nonparties to the
 consequences of the death of a party in a pending lawsuit so that they may act if they desire to preserve
 the decedent’s claim. The rule establishes a procedure that protects those who have an interest in the
 litigation and the authority to act on behalf of the decedent by permitting substitution for the deceased
 party without unduly burdening the surviving party.” Jones v. Prison Health Services, No. 11-12134,
 2014 WL 117326, at *2 (E.D. Mich. Jan. 13, 2014)(citations omitted).

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 and mediation before Judge Cahill on December 6, 2016. Thus, the Court finds the Defendants’

 motion for § 1927 sanctions for fees and costs should be Granted in Part and Denied in Part.

 Williams, 526 F.Supp.2d at 841 (the application of § 1927 sanctions is warranted when an

 attorney has engaged in some sort of conduct that from an objective stand point falls short of the

 obligations owed by a member of the bar to the Court and result in additional expense to the

 opposing party).

        2. Are the Costs and Fees Requested by Defendants Reasonable?

        Having determined that mediation fees are justified, the Court will now examine the

 amount of § 1927 fees and costs that should be awarded. As stated, Defendants submit that

 counsel for Plaintiff should be ordered to pay any fees and expenses incurred after September 9,

 2016, the date on which counsel agreed to proceed with mediation in this matter on October 11,

 2016. 4 Therefore, Defendants request that the Court order Plaintiffs’ counsel, Benjamin Miller

 and James Dunlap, counsel for Nancy Carlin, to pay Defendants a total of $130,912.98, in costs,

 expenses, and attorney’s fees, for Attorney Lisa M. Simonetti. In the alternative, Defendants

 seek an award based on the amount billed and paid of $108,390.48. (ECF No. 95, 11.) In

 support of this request, Defendants filed a Sealed Declaration from Attorney Lisa M. Simonetti, 5

 emails exchanged between the parties, itemized invoices billed and paid by SMB and NSI for

 legal services to VedderPrice; to VedderPrice from NSL; and to Wyatt Tarrant & Combs, LLC


 4
   In the course of those same emails, counsel for Plaintiffs agreed to a Rule 30(b)(6) deposition on
 September 28, 2016 and was in agreement to extend the time for Defendants to respond to Plaintiffs’
 outstanding discovery requests to September 13, 2016. (Declaration of Lisa Simonetti and Sealed Exhibit
 A, emails).
 5
     On January 12, 2016, Lisa Simonetti, counsel for Defendants Navient Corp., NSI and SLM Corp. filed a
 motion to appear pro hac vice. The application lists Simonetti as a shareholder in the California based firm of
 Vedder Price having thirteen various court admissions, including the United States District Courts and the
 Supreme Court of California, her resident state, Colorado, Illinois, Michigan, New York and Indiana, the Ninth
 and Eleventh Circuit Courts of Appeals and the United States Supreme Court, dating back to 1993. (ECF No. 9, 3
 Attachment “A”).

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 by SMB. (Sealed Exhibits 2-4.) Defendants’ § 1927 motion is supported by a declaration from

 an experienced and esteemed counsel in this community, Mr. David Wade, a shareholder of

 Martin, Tate, Morrow & Marston, P.C. (ECF No. 95-1.)                    Citing Black Police Officers

 Organization v. City of Louisville, 700 F.2d 268, 278 (6th Cir. 1983), Mr. Wade urges the Court

 to consider the standard rate charged in the market where counsel normally practices. He also

 suggests that out of town counsel appearing before this Court typically charge between $650.00

 and $800 an hour. (ECF No. 95-1, 6, 9 ¶ 16.) Similarly, counsel provides that the prevailing rate

 in this community for attorneys having Mr. Horton’s experience is between $400.00 and $500.00

 an hour. (Id. at 8 ¶ 14.) Thus, counsel supports the $525.00 an hour rate for Ms. Simonetti as

 the reasonable and prevailing market rate for an attorney having her experience in California and

 the $435.00 hourly rate billed by Mr. Horton. 6 (ECF Nos. 95, 11 & 95-1, 1-12.) However, the

 Court finds that counsel’s rate should be consistent with the hourly rate billed by similarly

 experienced attorneys in this area, or the $435.00 an hour that was requested by local co-counsel.

         The “determination of a reasonable attorney’s fees begins with the lodestar amount which

 is calculated by multiplying the number of hours reasonably expended on the litigation times a

 reasonable hourly rate.” Jerelds v. City of Orlando, 194 F.Supp.2d 1305, 1333 (M.D. Fl. March

 27, 2002). The primary concern is awarding fees that are reasonable. Garner, 554 F.3d at 642.

 The burden of proving the reasonableness of the fee belongs to the prevailing party. Farrar v.

 Hobby, 506 U.S. 103, 109 (1992). The prevailing party must provide documented evidence as to

 the hours spent and billing rates. Gonter v. Hunt Valve Co, Inc., 510 F.3d 610, 617 (6th Cir.

 2007) and Dye v. Bellsouth Telecomm., Inc., 462 F.Supp.2d 845, 855 (W.D. Tenn. 2006). The

 documentation must include “sufficient detail and probative value to enable the court to

 6
  In his declaration, Mr. Wade states that: “I do not know of any lawyer in the local community within the
 Western District of Tennessee who has the national reputation and expertise that Ms. Simonetti enjoys in the
 specialized matters such as are before the Court.” (ECF No. 95-1, 10).

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 determine with a high degree of certainty that such hours were actually and reasonably expended

 in the prosecution of the litigation” Imwalle v. Reliance Med. Prod., Inc., 515 F.3d 531, 553 (6th

 Cir. 2008) (internal citation omitted). The party must also prove that the fees requested are not

 vague, excessive redundant, superfluous, or unnecessary. See Hensley v. Eckerhart, 461 U.S.

 424, 434 (1983). A “strong presumption favors the prevailing party’s entitlement to his lodestar

 fee.” However, the lodestar can be adjusted if there is specific evidence in the record that so

 requires the reduction. Adcock-Ladd v. Secretary of Treasury, 227 F.3d 343, 350 (6th Cir.

 2000)(internal citation omitted). The Supreme Court has outlined twelve factors for a court to

 use when deciding what the lodestar should be and/or whether the lodestar should be adjusted.

 Hensley, 461 U.S. at 430, n. 3. These twelve factors are:

        (1) the time and labor required; (2) the novelty and difficulty of the questions: (3)
        the skill requisite to perform the legal service properly; (4) the preclusion of
        employment by the attorney due to the acceptance of the case; (5) the customary
        fee; (6) whether the fee is fixed or contingent; (7) time limitations imposed by the
        client or the circumstances; (8) the amount of time involved and the results
        obtained; (9) the experience, reputation, and ability of the attorneys; (10) the
        ‘undesirability’ of the case; (11) the nature and length of the professional
        relationship with the client; and (12) awards in the similar cases.

  Id. And so, for purposes of determining reasonable hourly rates in awarding attorney fees, the

 appropriate rate is not necessarily the exact value sought by a particular firm, or attorney. Rather,

 it is the market rate in the venue sufficient to encourage competent representation. Gonter, 510

 F.3d at 618; and Geier v. Sundquist, 372 F.3d 784, 791 (6th Cir. 2004).

   1. Time and Labor

        Regarding time and labor, a case may be overstaffed when there is an over-utilization of

 partners and/or senior level attorneys. See Fair Housing Center of Sw. Mich. v. Hunt, No. 1:09-

 cv-593, 2013 WL 5719152, at *15 (W.D. Mich. Oct. 21, 2013). This usually results in a greater


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 expenditure of associate time, while partners perform only those tasks that they alone can do.

 Potter v. Blue Cross Blue Shield of Mich., 10 F.Supp.3d 737 at **28 (E.D. Mich. Mar. 31,

 2014)(internal citation omitted). However, the courts have also stated that although “there is

 nothing inherently unreasonable about making an award for time spent by two or more lawyers

 engaged in the same representation, counsel bears the burden of showing his or her specific

 contribution.” Gratz v. Bollinger, 353 F.Supp.2d 929, 941 (E.D. Mich. 2005) (internal citations

 omitted). This case was not complex. It is unusual only because of Plaintiffs’ counsel’s

 handling of his client’s death. Defense counsel’s skill, abilities, reputations and experience did

 not impact this case anymore than in any other proposed class TCPA action. The record only

 reflects District Court appearances for an initial scheduling conference on April 29, 2016; a

 status conference on January 27, 2017 and a Motion Hearing on March 15, 2017. (ECF Nos. 33,

 69 & 83.) In fact, the record clearly shows that there were no decisions on the merits of the

 TCPA claims because of Plaintiff’s untimely death and the Court’s determination that his claims

 did not survive. Based on the unfortunate turn of events, Defendants’ counsel gained a dismissal

 in their favor. Therefore, given the specific nature of this case, the Court will only award fees

 billed by lead out-of-town counsel Lisa Simonetti and lead local counsel Odell Horton, Jr.

         Ms. Simonetti offers the Court several invoices for all expenses, costs and services billed

 at $525.00 an hour after September 9, 2016. 7 The first invoice, Invoice No. 587617, dated

 November 8, 2016 billed a total of costs and expenses of $2,478.74 for E-Discovery, airfare,

 hotels, meals, rentals and taxi fares and 21.70 hours for a total of $11,392.50 as legal services

 provided through September 30, 2016. The following itemized notation was listed for mediation

 preparation:


 7
   For the sake of clarification, the Court has extracted from these various invoices and enumerated the
 legal services for which it deems § 1927 fees and costs should be awarded.

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                09/14/16 Telephone Call re Strategy and re Mediation         0.30
                                                                             0.30

        Invoice No. 587745 dated November 10, 2016 billed a total of costs of $325.18 for E-

 Discovery and Meals and a total of $3,045.00 in 5.80 hours for the following legal services

 through October 31, 2016. The following services were reasonably billed for mediation and

 settlement efforts:

                10/06/16 Follow up re Mediation                               0.20
                10/12/16 Emails to proposed Mediators                         0.30
                10/13/16 Attention to Settlement Issues                       0.20
                10/14/16 Emails re Mediation and Data Sampling                0.20
                10/18/16 Attention to Mediation Issues                        0.40
                                                                              1.30

        The next invoice, Invoice Number 593739 dated December 30, 2016, billed total costs for

 this period as $5,909.50 that were incurred for court reporter services and mediation fees, in

 addition to the $2,100.00 for 4 hours of legal services through November 30, 2016:

              11/04/16   Conference call with Clients re Mediation             0.50
              11/11/16   Emails re Final Numbers                               0.10
              11/14/16   Emails re Data and Mediation Issues                   0.20
              11/15/16   Call with Clients and counsel re Settlement           0.40
              11/21/16   Emails with Mediator re pre session call              0.20
              11/27/16   Attention to Mediation Statement                      0.30
              11/28/16   Pre Mediation call with Judge Cahill                  0.30
                                                                               2.00

        Invoice No. 595907 dated January 27, 2017 reflects $991.01 in costs and expenses for E-

 discovery, Travel, Auto Rental and Taxi, Telephone charges in addition to the $7,402.50 billed

 for legal services through December 31, 2016, and included the following for settlement efforts:

            12/02/16 Conference Call with Clients re Settlement                 1.10
            12/05/16 Travel to DC and prepare for Mediation                      4.50
            12/06/16 Attend Mediation and Travel                                 7.00
            12/07/16 Emails with Plaintiff’s Counsel re Meet and Confer         0.20
                                                                                12.80

        Invoice Number 599415 dated February 23, 2017 billed a total of $566.93 in costs and

                                                 13
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 expenses for meals, travel, automobile rental, taxis and hotel in addition to the $12,285.00 for

 itemized services rendered through January 31, 2017, with the following legal fees regarding

 Plaintiff’s death:


         01/06/17 Telephone Call re Deceased Plaintiff and Emails…              0.80
         01/09/17 Attention to Retrieving Death Certificate for Parchman        0.10
         01/11/17 Telephone Call to Local Counsel                               0.70
                                                                                1.60

     Invoice Number 600538 dated February 28, 2017 lacked any costs, but billed for one event

 in the amount of $157.50 for .30 hours of research regarding ethical issues on January, 5, 2017.

         On March 31, 2017, Invoice Number 603145 billed costs in the amount of $1,142.80 for

 meals, travel and airfare auto rental and hotels and for services rendered through February 28,

 2017 in the amount of $4,882.50 for 9.3 hours:

         02/03/17 Final Review of Briefs and Email Judge Carhill                1.50
         02/10/17 Email on Order on Request for Leave                           0.10
         02/17/17 Review Opposition to Motion; Revise Memo re Settlement*       1.40
               (÷ in half for .70)
         02/21/17 Telephone Call to local counsel                                .50
         02/23/17 Revise Memo re Navient Solutions Settlements                  2.10
                                                                                4.90

         Invoice Number 606313 dated April 30, 2017 documented 14.40 hours of services for a

 total of $7,560.00 in fees and billed $439.49 in costs for transcripts and travel through March 31,

 2017. Invoice Number 609167 dated May 31, 2017 only assessed costs of $52.50 through April

 30, 2017 and .10 hours of service for review of an email on April 27, 2017 for fees of $52.50.

 Issued on July 7, 2017, Invoice No. 612069 billed $354.73 in expenses for the month of May

 2017 for meals, travel and hotels in addition to the $315.00 for .60 hours of legal services.

 (Sealed ECF No. 96, Exhibits 2-3). After review, the Court will allow a total of 22.90 hours as

 listed above for Lisa Simonetti’s fees that were incurred on the dates listed above for excessive



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 or vexatious proceedings, but not for all legal services that were provided after September 6,

 2016 as requested.

        The Court has considered costs and services associated with the mediation and settlement

 attempts. In addition, the rate requested will be calculated at the rate established above. Nor will

 the Court award § 1927 sanctions to cover the fees billed by Simonetti’s associates who worked

 on this case. The purposes of § 1927 is not to cover the total costs of litigation. In summary, the

 Court will only allow fees and costs and expenses for legal services provided in reference to the

 mediation and work done in reference to documenting Mr. Parchman’s death. The other hours

 billed for research, the filing of responses to motions, including the motion to dismiss and

 survivability of the TCPA issue would have inevitably occurred. Those costs cannot be leveled

 upon Plaintiff’s counsel for purposes of vexatious delay or multiplication of the proceedings

 under § 1927.

        Appearing as local lead counsel in this matter is Odell Horton, Jr., a partner with Wyatt,

 Tarrant & Combs, LLP. Mr. Horton filed a notice of appearance on behalf of all Defendants on

 March 23, 2016. (ECF No. 26.) Defendants also request that the Court award his fees and costs.

 (ECF No. 96, Exhibit 4.) Counsel has provided that his firm billed a rate of $435.00 an hour for

 his services in this matter as follows:

        Invoice Number 1020940 dated October 5, 2016 billed $435.00 for only one hour of

 service on September 23, 2016 and a total of $1522.50 for all services through September 30,

 2016. On February 6, 2017, Invoice Number 1029414 was issued for $3,480.00 in fees for 8.0

 hours of services through January 31, 2017.

           1/25/17 Telephone Call/Review are Status Report                1.50
                                                                          1.50

        A third invoice, No. 1031513, dated March 7, 2017 billed $3,871.50 for legal services

                                                 15
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 through February 28, 2017. Next, Invoice Number 1033094 billed on April 5, 2017, $6.00 in

 parking expenses and a total of $4,306.50 for legal services in March 2017:

           3/17/17 Review Status Report filed by Plaintiffs and Cases    1.00
                                                                         1.00

        Finally, Invoice No. 1036570 billed $217.50 on June 2, 2017, for .50 hour of services

 responded to a question from co-counsel on May 8, 2017. Similarly, Invoice Number 1041053

 dated August 2, 2017 billed the same, $217.50 for .50 hours of work reviewing order on July 18,

 2017. Both invoices totaled fees of $435.00. (ECF 96, Exhibit 4.) Based on the reasons

 provided below, the Court will only award §1927 fees, costs and expenses for the two itemized

 hourly billings on January 25, 2017 and March 17, 2017.

         The Court finds the claimed rates of $525.00 an hour for Lisa Simonetti will be reduced

 to coincide with the claimed billable rate of $435.00 per hour that has been submitted by local

 counsel, Odell Horton, Jr. and consistent with the market rates in this community that were

 confirmed in the declaration offered by counsel David Wade. Adcock-Ladd, 227 F.3d at 350-51;

 Waldo v. Consumers Energy Co., 726 F.3d 802, 822-823 (6th Cir. 2013); (ECF No. 24-6, pp. 6-

 7.) Ford v. Tenn. Senate, Case No. 2:06-cv-2031, 2008 U.S. Dist. LEXIS 88068, at 14-15, 17

 (W.D. Tenn. Oct. 24, 2008)(where Memphis counsel received $380 to $500 for special counsel

 due to complexity of the issues); Love v. Shelby County, 2007 U.S. Dist. LEXIS 94854, at *6

 (W.D. Tenn. Dec. 28, 2007)(approving hourly rate of $300 for Memphis attorney in a sex

 discrimination case). After review of the entire record, the following fees, costs and expenses

 should be awarded pursuant to § 1927:




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 Attorney            Hourly Rate    Hourly Rate      Hours         Costs & Expenses      Amount
                     Requested      Awarded          Awarded         Rewarded            Awarded

 Lisa Simonetti      $525.00        $435.00             22.90         $7,467.44          $17,428.94
                                                     ($9,961.50)
 Odell Horton        $435.00        $435.00             2.50             0                $1,087.50
                                                     ($1,087.50)


        The Court has extensively examined the number of hours reportedly billed by lead out-

 of-town and local counsel for Defendants in order to properly address what, if any, reasonable

 fees and expenses should be recovered by Defense counsel as § 1927 sanctions in this action. In

 this regard, the Court has decided against awarding the total amount billed and paid for legal

 services and orders instead that Benjamin Miller, counsel for Plaintiff Jeffrey Parchman, pay

 Lisa Simonetti $17,428.94 in § 1927 fees, costs and expenses. In addition, the Court orders

 Benjamin Miller, counsel for Plaintiff Jeffrey Parchman to pay counsel Odell Horton, Jr.

 $1,087.50 in § 1927 fees and expenses.

                                          CONCLUSION

        Defendants’ Motion for Cost, Expenses and Attorneys’ Fees under 28 U.S.C. § 1927,

 ECF No. 95, is GRANTED in part and DENIED in part for the reasons stated above. The Court

 will allow Plaintiffs’ counsel fourteen (14) days to respond by showing cause why these specific

 amounts should not be awarded pursuant to 28 U.S.C. § 1927.            Wooldridge v. Marlene

 Industries, Corp, 898 F.2d 1169, 1176 (6th Cir. 1990).



         IT IS SO ORDERED on this 5th day of June, 2018.



                                                       s/ John T. Fowlkes, Jr.
                                                       JOHN T. FOWLKES, JR.
                                                       UNITED STATES DISTRICT JUDGE

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